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                        UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
_____________________________________________________________________
 C.H. ROBINSON WORLDWIDE, INC.,                       Civil No. 03-2978 (JRT/FLN)

                                  Plaintiff,

 v.                                                              ORDER

 GHIRARDELLI CHOCOLATE
 COMPANY,

                                Defendant.
_____________________________________________________________________


       Richard J. Nygaard and Steven Sitek, RIDER BENNETT, 2000
       Metropolitan Center, 333 South Seventh Street, Minneapolis, MN 55402,
       for plaintiff.

       David A. Schooler and Stephen Laitinen, LARSON KING, 30 East Seventh
       Street, Suite 2800, St. Paul, MN 55101-4922, for defendant.



       The Court was advised during the trial process that the parties had reached

settlement. The settlement terms were entered on the record on January 18, 2006.

       IT IS HEREBY ORDERED that this action is dismissed with prejudice, the Court

retaining jurisdiction for forty-five days to permit any party to reopen the action, for good

cause shown, or to seek enforcement of the settlement terms.




DATED: January 25, 2006                                 s/ John R. Tunheim
at Minneapolis, Minnesota.                             JOHN R. TUNHEIM
                                                     United States District Judge
